Case 2:13-cv-00902-GMN-GWF Document1 Filed 05/22/13 Page 1of11

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

 

SHALLAN ST. JUSTE, : Civil Action No.:

Plaintiff,
v.

AUDIT SYSTEMS, INC.; and Does 1- : COMPLAINT
10, inclusive, :

Defendant.

 

For this Complaint, the Plaintiff, SHALLAN ST. JUSTE, by undersigned counsel, states
as follows:

JURISDICTION

1. This action arises out of Defendants’ repeated violations of the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the harassment of Plaintiff
by the Defendant and its agents in their illegal efforts to collect a consumer debt.

2. Further, Defendants negligently, knowingly, and/or willfully placed automated
calls to Plaintiff's cellular phone in violation of the Telephone Consumer Protection Act, 47
USS.C. § 227, et seq. (the “TCPA”).

3. Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367 and this Court has
original jurisdiction over Plaintiff's TCPA claims. Mims v. Arrow Fin. Serv., LLC, 132 S.Ct. 740
(2012).

4, Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) & (c), because

Plaintiff resides within the District of Nevada, a substantial portion of the events or omissions
Case 2:13-cv-00902-GMN-GWF Document1 Filed 05/22/13 Page 2 of 11

giving rise to the claim occurred in this District, and Defendant regularly conducts business in
this District.
PARTIES

5. The Plaintiff, SHALLAN ST. JUSTE (“PLAINTIFF”), is an adult individual
residing in Las Vegas, Nevada, and is a “consumer” as the term is defined by 15 U.S.C. §
1692a(3).

6. Defendant AUDIT SYSTEMS, INC. (“AUDIT SYSTEMS”), is doing business
in the State of Nevada as a business entity operating as a collection agency, and is a “debt
collector” as the term is defined by 15 U.S.C. § 1692a(6).

7. Does 1-10 (the “Collectors”) are individual collectors employed by AUDIT
SYSTEMS and whose identities are currently unknown to the Plaintiff. One or more of the
Collectors may be joined as parties once their identities are disclosed through discovery.

8. AUDIT SYSTEMS at all times acted by and through one or more of the
Collectors.

ALLEGATIONS APPLICABLE TO ALL COUNTS
The Debt

9. Plaintiff allegedly incurred a financial obligation (the “Debt”) to Creditor (the
“Creditor”).

10. The Debt arose from services provided by the Creditor which were primarily for
family, personal or household purposes and which meets the definition of a “debt” under 15
ULS.C. § 1692a(5).

11. The Debt was purchased, assigned or transferred to AUDIT SYSTEMS for

collection, or AUDIT SYSTEMS was employed by the Creditor to collect the Debt.
Case 2:13-cv-00902-GMN-GWF Document 1 Filed 05/22/13 Page 3 of 11

12. The Defendants attempted to collect the Debt and, as such, engaged in
“communications” as defined in 15 U.S.C. § 1692a(2).

AUDIT SYSTEMS Engages in Harassment and Abusive Tactics
FACTS

13. AUDIT SYSTEMS engaged in a campaign of harassment and abuse in an attempt
to collect a debt.

14. Inone of AUDIT SYSTEMS’ collection calls to PLAINTIFF’S cellular phone, a
representative asked to speak to PLAINTIFF’S 13-year-old son regarding a medical bill.

15.  Asaresult of AUDIT SYSTEMS’ unwarranted request to speak to PLAINTIFF’S
young son, PLAINTIFF has experienced high anxiety and stress.

Plaintiff Suffered Actual Damages

16. The Plaintiff has suffered and continues to suffer actual damages as a result of
AUDIT SYSTEMS’ unlawful conduct.

17. Asadirect consequence of AUDIT SYSTEMS’ acts, practices and conduct, the
Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,
fear, frustration and embarrassment.

18. Plaintiff has also contemplated filing bankruptcy as a result of Defendants’ illegal
conduct to stop harassing calls in the future.

Respondeat Superior Liability

19. The acts and omissions of AUDIT SYSTEMS, and the other debt collectors
employed as agents by AUDIT SYSTEMS who communicated with PLAINTIFF as more further
described herein, were committed within the time and space limits of their agency relationship with

their principal, Defendant AUDIT SYSTEMS.
Case 2:13-cv-00902-GMN-GWF Document1 Filed 05/22/13 Page 4 of 11

20. The acts and omissions by AUDIT SYSTEMS and these other debt collectors were
incidental to, or of the same general nature as, the responsibilities these agents were authorized to
perform by AUDIT SYSTEMS in collecting consumer debts.

21. By committing these acts and omissions against Plaintiff, AUDIT SYSTEMS and
these other debt collectors were motivated to benefit their principal, Defendant AUDIT SYSTEMS.

22. | AUDIT SYSTEMS is therefore liable to PLAINTIFF through the Doctrine of
Respondeat Superior for the intentional and negligent acts, errors, and omissions done in
violation of state and federal law by its collection employees, including but not limited to
violations of the FDCPA and Nevada tort law, in their attempts to collect a debt from
PLAINTIFF.

THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

23. In 1991, Congress enacted the TCPA in response to a growing number of
consumer complaints regarding certain telemarketing practices.

24. The TCPA regulates, among other things, the use of automated telephone dialing
systems.

25. 470U.8.C. § 227(a)(1) defines an automatic telephone dialing system (“ATDS”) as
equipment having the capacity —

(A) to store or produce telephone numbers to be called, using a

random or sequential number generator; and

(B) _ to dial such numbers.
Case 2:13-cv-00902-GMN-GWF Document1 Filed 05/22/13 Page 5 of11

26. Specifically, 47 U.S.C. § 227(1)(A)(iii) prohibits any call using an ATDS or an
artificial or prerecorded voice to a cellular phone without prior express consent by the person
being called, unless the call is for emergency purposes.

27. According to findings by the Federal Communications Commission (“FCC”),
such calls are prohibited because automated or prerecorded telephone calls are a greater nuisance
and invasion of privacy than live solicitation calls. The FCC also recognized that wireless
customers are charged for incoming calls.!

28. On January 4, 2008, the FCC released a Declaratory Ruling wherein it confirmed
that autodialed and prerecorded calls to a wireless number by a creditor, or on behalf of a
creditor, are permitted only if the calls are made with the “prior express consent” of the called
party.”

ALLEGATIONS APPLICABLE TO ALL COUNTS

29. Upon information and belief, Defendant employs an ATDS which meets the
definition set forth in 47 U.S.C. § 227(a)(1).

30. Beginning in or around December 2012 through January 2013, Defendant has
repeatedly contacted Plaintiff on Plaintiff's cellular telephone using an “artificial or prerecorded
voice” as defined by 47 U.S.C. § 227(b)(1)(A).

31. The telephone number that Defendant used to contact Plaintiff was and is assigned

to a cellular telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).

 

' Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
Docket No. 02-278, Report and Order, 18 FCC Red 14014 (2003).

* In the Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act
of 1991, 23 F.C.C.R. 559, 23 FCC Red 559, 43 Communications Reg. (P&F) 877, 2008 WL
65485 (F.C.C.) (2008).
Case 2:13-cv-00902-GMN-GWF Document1 Filed 05/22/13 Page 6 of 11

32. Pursuant to the contract with his cellular service provider, Plaintiff is charged for
incoming calls made to his cellular telephone.

33. Defendant did not have prior express consent to place automated or prerecorded
calls to Plaintiff on his cellular telephone.

34. Defendant’s calls to Plaintiff's cellular telephone were not for “emergency
purposes.”

35. Pursuant to the TCPA and the FCC’s January 2008 Declaratory Ruling, the burden
is on Defendant to demonstrate that it had prior express consent to call Plaintiff's cellular phone
with an ATDS using a prerecorded voice.

COUNT I
VIOLATIONS OF THE FDCPA - 15 U.S.C. § 1692, et seq.

36. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

37. The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged
in behavior, the natural consequence of which was to harass, oppress, or abuse the Plaintiff in
connection with the collection of a debt.

38. | The Defendants’ conduct violated 15 U.S.C. § 1692e in that Defendants engaged
in false, deceptive or misleading behavior in connection with the collection of a debt.

39. | The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants
employed various false representations and deceptive means to collect a debt.

40. The Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used
unfair and unconscionable means to collect a debt and attempted to humiliate and belittle

Plaintiff.
Case 2:13-cv-00902-GMN-GWF Document1 Filed 05/22/13 Page 7 of 11

4|. The foregoing acts and omissions of the Defendants constitute numerous and
multiple violations of the FDCPA, including every one of the above-cited provisions.

42. The Plaintiff is entitled to damages as a result of Defendants’ violations.

43. The Plaintiff has been required to retain the undersigned as counsel to protect his
legal rights to prosecute this cause of action, and is therefore entitled to an award or reasonable
attorneys’ fees plus costs incurred.

COUNT IL.

INVASION OF PRIVACY BY INTRUSION UPON SECLUSION AND BY
REVELATION OF PRIVATE FINANCIAL FACTS TO THIRD PARTY

44. Plaintiff incorporates by reference all of the paragraphs of this Complaint as
though fully stated herein.

45. Congress explicitly recognized a consumer’s inherent right to privacy in
collection matters in passing the Fair Debt Collection Practices Act, when it stated as part of its
findings:

Abusive debt collection practices contribute to the number of personal
bankruptcies, to marital instability, to the loss of jobs, and to invasions of

individual privacy.
15 U.S.C. § 1692(a) (emphasis added).

46. Congress further recognized a consumer’s right to privacy in financial data in
passing the Gramm Leech Bliley Act, which regulates the privacy of consumer financial data for
a broad range of “financial institutions” including debt collectors albeit without a private right of
action, when it stated as part of its purposes:

It is the policy of the Congress that each financial institution has an
affirmative _and continuing obligation to respect the privacy of its

customers and to protect the security and confidentiality of those
customers’ nonpublic personal information.
Case 2:13-cv-00902-GMN-GWF Document1 Filed 05/22/13 Page 8 of 11

15 U.S.C. § 6801(a) (emphasis added).

47. Defendants and/or their agents intentionally and/or negligently interfered,
physically or otherwise, with the solitude, seclusion and or private concerns or affairs of this
Plaintiff, namely, by repeatedly and unlawfully attempting to collect a debt and thereby invaded
Plaintiff's privacy.

48. Defendants also intentionally and/or negligently interfered, physically or
otherwise, with the solitude, seclusion and or private concerns or affairs of the Plaintiff, namely,
by repeatedly and unlawfully disclosing information about this debt to third parties, and thereby
invaded Plaintiff's right to financial privacy.

49. Plaintiff had a reasonable expectation of privacy in Plaintiff's solitude, seclusion,
private concerns or affairs, and private financial information.

50. The conduct of these Defendants and their agents, in engaging in the above-
described illegal collection conduct against this Plaintiff, resulted in multiple intrusions and
invasions of privacy by these Defendants which occurred in a way that would be highly
offensive to a reasonable person in that position.

51. Asaresult of such intrusions and invasions of privacy, Plaintiff is entitled to
actual damages in an amount to be determined at trial from each Defendant.

COUNT Ut

Negligent Violations of the Telephone Consumer Protection Act,
47 U.S.C. § 227, et seq.

52. Plaintiff repeats and realleges the above paragraphs of this Complaint and
incorporates them herein by reference.
53. Defendants negligently placed multiple automated calls using an artificial or

prerecorded voice to cellular numbers belonging to Plaintiff without his prior express consent.
Case 2:13-cv-00902-GMN-GWF Document1 Filed 05/22/13 Page 9 of 11

54. Each of the aforementioned calls by Defendant constitutes a negligent violation of
the TCPA.

55. As aresult of Defendant’s negligent violations of the TCPA, Plaintiff is entitled
to an award of $500.00 in statutory damages for each call in violation of the TCPA pursuant to
47 U.S.C. § 227(b)(3)(B).

56. Additionally, Plaintiff is entitled to and seek injunctive relief prohibiting such
conduct by Defendant in the future.

COUNT IV

Knowing and/or Willful Violations of the Telephone Consumer Protection Act,

47 U.S.C. § 227, et seq.

57. Plaintiff repeats and realleges the above paragraphs of this Complaint and
incorporates them herein by reference.

58. Defendants knowingly and/or willfully placed multiple automated calls using an
artificial or prerecorded voice to cellular numbers belonging to Plaintiff without his prior express
consent.

59. Each of the aforementioned calls by Defendants constitutes a knowing and/or
willful violation of the TCPA.

60. Asaresult of Defendants’ knowing and/or willful violations of the TCPA,
Plaintiff is entitled to an award of treble damages up to $1,500.00 for each call in violation of the
TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

61. Additionally, Plaintiff is entitled to seek injunctive relief prohibiting such conduct

by Defendants in the future.
Case 2:13-cv-00902-GMN-GWF Document1 Filed 05/22/13 Page 10 of 11

PRAYER FOR RELIEF
WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants
awarding the Plaintiff:
COUNT I.
VIOLATIONS OF NRS 604A AS INCORPORATED THROUGH 15 U.S.C. § 1692
1. for actual damages including, but not limited to, the emotional distress the Plaintiff
has suffered (and continues to suffer) as a result of the intentional, reckless, and/or
negligent FDCPA violations pursuant to 15 U.S.C. § 1692k(a)(1);
2. for statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);
3. for punitive damages; and
4. for any other and further relief that the Court may deem just and proper.
COUNT II.

INVASION OF PRIVACY BY INTRUSION UPON SECLUSION AND BY
REVELATION OF PRIVATE FINANCIAL FACTS TO THIRD PARTY

1. for an award of actual damages from each and every Defendant for the emotional
distress suffered as a result of the intentional and/or negligent NRS 604A violations and
intentional and/or negligent invasions of privacy in an amount to be determined at trial
and for Plaintiff; and

2. for such other and further relief as may be just and proper.

COUNTS IT AND IV

Negligent Violations of the Telephone Consumer Protection Act,

47 U.S.C. § 227, et seg.
1. Injunctive relief prohibiting such violations of the TCPA by Defendant in the future;

2. Statutory damages of $500.00 for each and every call in violation of the TCPA

10
Case 2:13-cv-00902-GMN-GWF Document1 Filed 05/22/13 Page 11 of 11

pursuant to 47 U.S.C. § 227(b)(3)(B);
3. Treble damages of up to $1,500.00 for each and every call in violation of the TCPA
pursuant to 47 U.S.C. § 227(b)(3)(C);
4. An award of attorney’s fees and costs to counsel for Plaintiff; and
5. Such other relief as the Court deems just and proper.
TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: May 22, 2013

Respectfully submitted,

By /s/ George Haines, Esq.
George Haines, Esq.
Nevada Bar No. 9411
HAINES & KRIEGER, LLC
5041 N. Rainbow Blvd.
Las Vegas, Nevada 89130
Phone: (702) 880-5554
FAX: (702) 385-5518
Email: Ghaines@hainesandkrieger.com
Attorney for Plaintiff
SHALLAN ST. JUSTE

11
